                           UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF TENNESSEE
                                NASHVILLE DIVISION


UNITED STATES OF AMERICA                       )
                                               )
v.                                             )         NO. 3:13-00097
                                               )         JUDGE SHARP
KENNETH STAFFORD [1]                           )


                                           ORDER

       Pending before the Court is Defendant’s Motion to Continue Plea Date (Docket No. 574)

to which the Government does not oppose.

       The motion is GRANTED and the plea hearing scheduled for July 25, 2014, is hereby

rescheduled for Friday, August 15, 2014, at 2:30 p.m.

       It is so ORDERED.




                                            KEVIN H. SHARP
                                            UNITED STATES DISTRICT JUDGE




 Case 3:13-cr-00097       Document 576       Filed 07/24/14   Page 1 of 1 PageID #: 1460
